                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                                No. 17-CR-63-LRR
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 BUDDY XEKO,                                        RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                 Defendant.                            GUILTY PLEA
                                  ____________________

                        I. INTRODUCTION AND BACKGROUND
         On August 24, 2017, a three-count Indictment was filed against Defendant
Buddy Xeko. On December 7, 2017, Defendant appeared before United States Chief
Magistrate Judge C.J. Williams and entered a plea of guilty to Counts 1, 5 and 6 of the
Indictment. On December 8, 2017, Judge Williams filed a Report and Recommendation
in which he recommended that Defendant’s guilty pleas be accepted. No objections to
Judge Williams’s Report and Recommendation were filed.               The court, therefore,
undertakes the necessary review of Judge Williams’s recommendation to accept
Defendant’s pleas in this case.
                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the
                findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Criminal Procedure 59(b) provides for
review of a magistrate judge’s report and recommendation on dispositive motions, where
objections are made, as follows:

       Case 1:17-cr-00063-LRR-MAR        Document 83      Filed 12/27/17    Page 1 of 2
              The district judge must consider de novo any objection to the
              magistrate judge’s recommendation. The district judge may
              accept, reject, or modify the recommendation, receive further
              evidence, or resubmit the matter to the magistrate judge with
              instructions.
Fed. R. Crim. P. 59(b)(3).1
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Williams’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Williams’s Report and Recommendation of
December 8, 2017, and ACCEPTS Defendant’s pleas of guilty in this case to Counts 1,
5 and 6 of the Indictment.
       IT IS SO ORDERED.
       DATED this 27th day of December, 2017.




      1
         United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016)
(per curiam), suggests that a defendant may have the right to de novo review of a
magistrate judge’s recommendation to accept a plea of guilty even if no objection is filed.
But see 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). The district court judge will
undertake a de novo review of the Report and Recommendation if a written request for
such review is filed within fourteen days after this order is filed.

                                            2

    Case 1:17-cr-00063-LRR-MAR         Document 83      Filed 12/27/17    Page 2 of 2
